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16                           UNITED STATES DISTRICT COURT
17                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
18                                       WESTERN DIVISION
19   YONNEDIL CARROR TORRES, et                  No. CV 20-4450-CBM-PVCx
     al.,
20                                               RESPONDENTS’ NOTICE OF
                Plaintiff-Petitioners,           MOTION AND MOTION FOR
21                                               SUMMARY JUDGMENT AND
                      v.                         MEMORANDUM OF POINTS AND
22                                               AUTHORITIES
     LOUIS MILUSNIC, et al.,
23                                               [Supporting declarations, statement of
                Defendant-Respondents.           uncontroverted facts and conclusions of
24                                               law, and proposed judgment filed
                                                 concurrently]
25
                                                 Hearing Date: June 29, 2021
26                                               Time:         10:00 a.m.
                                                 Courtroom: 8B
27
                                                 Honorable Consuelo B. Marshall
28                                               United States District Judge
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 1         NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
 2         PLEASE TAKE NOTICE that, on June 29, 2021, at 10:00 a.m., or as soon
 3   thereafter as they may be heard, Defendants-Respondents Louis Milusnic and Michael
 4   Carvajal (“Respondents”), will, and hereby do, bring a Motion for Summary Judgment
 5   before the Honorable Consuelo B. Marshall, United States District Judge, located at

 6   Courtroom 8B of the First Street Courthouse, 350 West 1st Street, Los Angeles,
     California 90012.
 7
           Respondents hereby move for entry of summary judgment pursuant to Rule 56 of
 8
     the Federal Rules of Civil Procedure, on the grounds that there are no genuine triable
 9
     issues of material fact which exist as to Petitioners’ claims of Eighth Amendment
10
     violations arising from Respondents’ response to the COVID-19 pandemic at the Federal
11
     Corrections Complex in Lompoc, California, and that, as a matter of law, Respondents
12
     are entitled to summary judgment. This Motion is based upon this Notice, the pleadings
13
     on file herein, the attached Memorandum of Points and Authorities, the declarations and
14   exhibits attached hereto, and upon such other and further arguments, documents and
15   grounds as may be presented to the Court in the future.
16         This motion is made following the conference of counsel pursuant to Local Rule
17   7-3 which was held on March 16, 2021.
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 Case 2:20-cv-04450-CBM-PVC Document 251 Filed 05/25/21 Page 7 of 32 Page ID #:8522




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                                      /s/ Jasmin Yang
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         The Federal Correctional Complex, Lompoc (“FCC Lompoc”) experienced a
 4   serious outbreak of COVID-19 in March-May of 2020. But that was over a year ago. The
 5   Federal Bureau of Prisons (“BOP”) has taken extensive steps to mitigate COVID-19 risk
 6   at FCC Lompoc, in compliance with the BOP’s COVID-19 Pandemic Response Plan
 7   and the guidance for correctional facilities from the Centers for Disease Control

 8   (“CDC”). The BOP’s Pandemic Response Plan has proven extremely successful at
     infection control for FCC Lompoc, along with other BOP facilities. This was
 9
     demonstrated during the huge wave of COVID-19 cases that swept through Southern
10
     California over the past winter. Although COVID-19 spread throughout California, by
11
     contrast, few cases emerged inside FCC Lompoc over that same period. And those few
12
     cases were quickly identified and treated, with no larger outbreak emerging. Currently,
13
     there are zero COVID-positive inmates at FCC Lompoc. There have been no cases in
14
     FCC Lompoc’s general population for months.
15
           On top of the BOP’s extraordinary efforts to protect inmates through its Pandemic
16   Response Plan, FCC Lompoc has offered the COVID-19 vaccine to all existing inmates
17   and has a system in place to continue offering it to newly arriving inmates. mRNA
18   vaccines have proven to be extraordinarily effective, with a 95% efficacy rate in
19   preventing symptomatic COVID-19.1 Starting in December 2020, inmates at FCC
20   Lompoc were some of the first people in this country to be offered these COVID-19
21   vaccines. Far from “deliberate indifference,” the BOP made COVID-19 risk reduction an
22   absolute priority.
23         At this juncture, Petitioners cannot meet their burden to produce evidence
24   sufficient to support their claim for permanent injunctive relief based on their Eighth
25   Amendment claim. This case is about the current conditions at FCC Lompoc, not what

26   they were in March 2020. Petitioners cannot reset the clock back to March of 2020.

27         See e.g. https://www.nih.gov/news-events/news-releases/peer-reviewed-report-
           1

28   moderna-covid-19-vaccine-publishes
                                              1
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 1   Notably, Petitioners did not move this Court for additional preliminary injunctive relief
 2   on the basis of Dr. Homer Venters’ September 2020 report—because there was no
 3   significant constitutional risk raised and established therein—and they have retained no
 4   other experts in this case. The BOP has since controlled COVID-19 risk at the facility,
 5   with remarkable success, by implementing its rigorous plan. This point is reinforced by

 6   the BOP’s intensive vaccination campaign. Since the BOP has been providing COVID-
     19 vaccination for months now, Petitioners can prove neither the objective nor the
 7
     subjective prongs of their Eighth Amendment claim against the BOP.
 8
           Summary judgment should be granted for the Respondents accordingly.
 9
     II.   FACTUAL BACKGROUND
10
           A.     The BOP’s Pandemic Response Plan
11
           The initial COVID-19 outbreak at FCC Lompoc posed an unprecedented
12
     challenge. Little was known about the disease or its prevention at the pandemic’s start.
13
     Vaccines were not available. Since then, however, the BOP has followed guidance and
14
     directives from the CDC, World Health Organization (WHO), the Office of Personnel
15
     Management (OPM), the Department of Justice (DOJ), and the White House. Statement
16
     of Uncontroverted Facts filed concurrently herewith (“UF”) 1. On August 31, 2020, the
17
     BOP released a COVID-19 Pandemic Response Plan that compiles previous guidance,
18
     including all phases of its Action Plan, and provides a comprehensive document with
19
     specific guidance for limiting the spread of COVID-19 at BOP institutions. UF 2. The
20
     Plan contains eleven modules that are updated as needed, based on guidance from key
21
     stakeholders including the CDC, WHO, and DOJ. UF 3.
22
           FCC Lompoc has been operating in compliance with the CDC’s guidance and
23
     with the BOP’s COVID-19 Pandemic Response Plan. UF 4. Through implementing a
24
     host of measures, including broad-based testing and adherence to evolving CDC
25
     guidelines for infection prevention and control (such as cohorting and isolation
26
     procedures enacted after testing every inmate), the institution has managed to prevent
27
     further COVID-19 outbreaks. UF 5. The efficacy of the BOP’s campaign to mitigate risk
28
                                                 2
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 1   at the facility was harshly tested over the winter wave period, as COVID-19 infection
 2   rates exploded throughout California. The graph shown below, which was recently taken
 3   from the New York Times’ COVID-19 webpage, shows the rise and fall of this winter
 4   wave of Californian COVID-19 infections, which crested on December 21, 2020.
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16   https://www.nytimes.com/interactive/2021/us/california-covid-cases.html. UF 7.

17
18         In contrast, the graph below shows the number of COVID-19 cases at FCC

19   Lompoc over the same time period. Declaration of Jessica Figlenski, ¶ 16.

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     Case 2:20-cv-04450-CBM-PVC Document 251 Filed 05/25/21 Page 11 of 32 Page ID
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 1         Following this winter surge, Los Angeles County has seen over 1.2 million
 2   confirmed COVID-19 cases—over ten percent of the county population. UF 8. A similar
 3   rate of infection extended throughout California, which has over 3.6 million total
 4   confirmed positives. UF 9.
 5         In stark contrast to that uncontrolled winter spread of COVID-19 in California,
 6   COVID-19 cases were well-controlled over this same period within FCC Lompoc. UF 6,
 7   11. No major outbreak emerged, and certainly nothing comparable to the rates of
 8   infection that were experienced by the general populace outside the facility over that
 9   period. UF 11. Currently, there are 0 inmate COVID-19 cases at FCC Lompoc, and 0
10   staff cases.2 UF 12. Even over the most difficult risk period, right before the first
11   vaccinations began, FCC Lompoc performed remarkably well at infection control. While
12   new COVID-19 cases were not completely eliminated, they were few, and were quickly
13   identified and contained through adherence to the BOP’s COVID-19 Pandemic
14   Response Plan. UF 13. FCC Lompoc has not had an inmate-related COVID-19
15   hospitalization since August 20, 2020 (UF 31) whereas California had over 21,000
16   COVID-19 hospitalizations on January 7, 2021.3
17         B.     Testing
18                1.     Inmate Testing
19         The first confirmed case of COVID-19 at FCC Lompoc was an inmate from USP
20   Lompoc who was swabbed at the local hospital on March 26, 2020 and the positive
21   results were reported to FCC Lompoc on March 30, 2020. UF 14. FCC Lompoc took
22   immediate action and began conducting a contact investigation and screening and testing

23   positively identified contacts. UF 15. Inmates found to test positive were isolated and
     exposed inmates were quarantined and monitored for symptoms. UF 16. Mass testing at
24
     FCI Lompoc took place on May 5, 2020. UF 17. COVID-19 negative inmates were
25
26   2
           https://www.bop.gov/coronavirus/index.jsp
27   3
           https://calmatters.org/health/coronavirus/2020/04/california-coronavirus-covid-
28   patient-hospitalization-data-icu/
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 1   cohorted in a dedicated unit at the USP (which has cells instead of open-bay dormitories)
 2   to prevent further transmission of the disease among those testing negative. UF 18. Since
 3   the mass testing in May of 2020, inmate testing at FCC Lompoc has been conducted in
 4   accordance with the BOP’s COVID-19 Pandemic Response Plan Module 3, Screening
 5   and Testing. UF 19.

 6         The Pandemic Response Plan requires that symptomatic inmates be isolated and
     tested expeditiously and asymptomatic inmates with known or suspected contact with a
 7
     COVID-19 case be quarantined and tested expeditiously. UF 20. This section also
 8
     provides that expanded testing of all inmates in an entire open bay housing unit should
 9
     be considered as part of a robust contact tracing. UF 21.
10
           FCC Lompoc continues to conduct testing in accordance with the BOP’s testing
11
     protocols, which include testing all incoming and outgoing inmates in accordance with
12
     BOP Pandemic Response Plan Module 4, Inmate Isolation and Quarantine. UF 22. This
13
     mandatory testing of all inmates entering or leaving the institution is in addition to the
14   protocols used to determine when to test inmates within the institution’s general
15   population because of contact investigation. UF 23, 25. The testing of all inmates
16   releasing or transferring out of FCC Lompoc serves as random surveillance testing of the
17   institution’s general population. UF 24. As part of intake procedures, all inmates who
18   entered FCC Lompoc after the initial outbreak in May 2020 entered quarantine units and
19   were tested as determined by existing BOP testing protocols. UF 25. No later than
20   August 10, 2020, FCC Lompoc tested all incoming inmates, isolated positive inmates,
21   quarantined negative inmates, and re-tested quarantined inmates on or after the 14th day
22   of their quarantine period. UF 26. These inmates were transferred into the institution’s
23   general population only if they either had cleared quarantine by having a repeated

24   negative test result or, if positive, after completing the isolation period and being cleared
     by medical staff. UF 27. Incoming inmates have no contact with inmates in the
25
     institution’s general population until they clear quarantine or isolation. UF 28.
26
           As of May 19, 2021, FCC Lompoc has conducted over 5,479 COVID-19 tests on
27
     1,722 inmates. UF 29. As of this date, there are zero confirmed inmate COVID-19 case
28
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 1   at FCC Lompoc. UF 12. All five of the FCC Lompoc inmates who died of COVID-
 2   related illness contacted the disease during the March-May 2020 outbreak at FCC
 3   Lompoc. UF 30. FCC Lompoc has not had an inmate hospitalized for COVID-related
 4   illness since August 20, 2020. UF 31. FCI Lompoc has not had a COVID-19 case in its
 5   general population since September 25, 2020. UF 32. USP Lompoc has not had a

 6   COVID-19 case in its general population since December 31, 2020. UF 33. The last lab-
     confirmed case of COVID-19 at FCC Lompoc occurred in FCC Lompoc’s intake
 7
     quarantine with a newly arriving inmate on March 26, 2021 and was detected as part of
 8
     the BOP’s intake quarantine process. UF 34.
 9
                  2.     Staff Testing
10
           The BOP’s COVID-19 Pandemic Response Plan, Module 11, Employee
11
     Management, provides guidance for staff testing, including the identification of testing
12
     sites in the local community, requiring staff who test positive to report their diagnosis to
13
     the BOP, and indications and priorities for testing. UF 35. The BOP’s Pandemic
14   Response Plan requires staff to report positive test results, requires asymptomatic staff
15   who test positive to wait at least 10 days before reporting to work, and sets forth an
16   algorithm for when symptomatic staff may return to work (with staff who have been
17   hospitalized being required to wait at least 20 days since the appearance of symptoms
18   before they return to work). UF 36. The BOP’s procedures do not permit staff with
19   positive test results to report to work until the appropriate CDC time-based guidance
20   permits them to return. UF 37.
21         The BOP has established a nationwide contract with Quest Diagnostics to
22   facilitate COVID-19 testing for all BOP employees, including those at FCC Lompoc, at
23   no charge to staff. UF 38. Staff members can obtain a collection kit from the institution,

24   complete the test, and return it for processing. UF 39. Quest Diagnostics provides
     immediate notification to the staff member in the event of a positive test. UF 41.
25
     Employees are obligated to report positive test results and are directed not to report to
26
     work. UF 42.
27
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 1            During the initial outbreak at FCC Lompoc in April/May 2020, the BOP’s
 2   Infection Prevention staff coordinated a staff testing clinic with the local health
 3   department at a nearby local health clinic. UF 45. Furthermore, as individuals working in
 4   a correctional facility, all FCC Lompoc staff have access to COVID-19 testing free of
 5   charge from dozens of other locations in the community. UF 46.

 6            C.    Vaccinations

 7            FCC Lompoc administered its first doses of the Pfizer COVID-19 vaccine to
     inmates from December 28, 2020, through December 31, 2020. UF. 47. Vaccinations
 8
     were offered to FCC Lompoc staff first to decrease the possible introduction of COVID-
 9
     19 into the institution, and any remaining vaccinations were offered to FCC Lompoc
10
     inmates. UF 48. As there were not enough remaining doses to vaccinate all of the
11
     facility’s inmates at that time, the institution’s medical staff offered vaccinations to
12
     inmates as set forth in the BOP’s national guidance. UF 49. Priority for vaccination is
13
     based upon the nature of the housing (prioritizing open bay over celled housing) and the
14
     inmate’s individual priority levels (1 – 4) which take into account whether inmates are
15   health service unit workers, their age, and whether they meet the CDC criteria for being
16   at increased risk for severe illness from COVID-19. UF 50. The BOP allocated the
17   limited number of vaccine doses it received in December 2020 to protect as many
18   inmates as possible in open-bay dorms (UF 51), while using other methods (such as
19   cohorting) to protect inmates in the USP who live in two-person cells separated by solid
20   walls.
21            FCC Lompoc first offered vaccines to inmates at the USP Camp and FCI as those
22   living spaces consist of open-bay dorms. UF 51. At that time, all inmates at USP North
23   Camp and South Camp were offered the vaccine and inmates at the FCI in J Dorm and K
24   Dorm were offered the vaccine. UF 52. From December 28 through 31, 2020, medical

25   staff at FCC Lompoc administered 429 doses of the Pfizer-BioNTech COVID-19
     Vaccine (“Pfizer vaccine”). UF 53.
26
              On March 1, 2021, FCC Lompoc received 600 doses of the Moderna vaccine. UF
27
     54. On April 23, 2021 FCC Lompoc received an additional 110 doses of the Pfizer
28
                                             7
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 1   vaccine. UF 55. As of April 26, 2021, FCC Lompoc had offered the vaccine to all
 2   inmates at FCC Lompoc, with the exception of two inmates who were in pre-release
 3   quarantine who were not scheduled to be at FCC Lompoc for the administration of the
 4   second dose of vaccine. UF 56.
 5         Petitioner Vincent Reed received the first dose of the Moderna vaccine on March

 6   4, 2021 and his second dose on March 31, 2021. UF 57. Mr. Reed has tested negative as
     recently as November 16, 2020, though he previously had a positive lab result on a
 7
     specimen collected on March 30, 2020. UF 57. Petitioner Yonnedil Carror-Torres was
 8
     offered the vaccine on April 9, 2021, educated and given the opportunity to ask
 9
     questions of the infection control nurse at FCC Lompoc and elected to refuse the
10
     vaccine. UF 58. He has not had a laboratory test confirming he has COVID-19, though
11
     he has been tested multiple times, most recently on January 25, 2021, with negative
12
     findings each time. UF 59.
13
           As of May 19, 2021, FCC Lompoc medical staff administered the vaccine as
14   follows:
15               a.     241 out of 438 staff members have been fully vaccinated through the
16                      BOP. This number does not account for staff members who have
17                      received vaccinations through community sources. UF 60.
18               b.     1,091 out of 1,862 inmates have been fully vaccinated. UF 61.
19               c.     729 inmates have refused the vaccine. UF 62.4
20               d.     There are no inmates at FCC Lompoc who have not yet been offered
21                      the vaccine. UF 63.
22         FCC Lompoc is offering the vaccine to newly arrived inmates at their intake into
23   the facility upon their arrival. UF 64. The inmates are then placed in BEMR scheduling

24   and the vaccination is ordered from the BOP’s Central Fill and Distribution Center in
     Pollack, Louisiana. UF 65. The BOP has shifted from a spoke and wheel allocation
25
     system to a system in which FCC Lompoc can order the specific number of vaccine
26
27   4
      Because of inmate movement in and out of FCC Lompoc, the number of refusals and
28   vaccinated inmates does not equal the current population.
                                                8
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 1   doses needed for newly arrived staff and inmates and any inmates or staff who change
 2   their mind and indicate they now wish to receive the vaccine. UF 65.
 3         In summary, 1,091 out of 1,862 inmates at FCC Lompoc have been fully
 4   vaccinated (58.6%) and 729 inmates have refused the vaccine. UF 61-62. 72.82% of the
 5   inmates at FCC Lompoc have either recovered from COVID-19 or are previously

 6   COVID-19 naïve inmates who have been vaccinated. UF 66. As of April 26, 2021, all
     eligible inmates had been offered the vaccine. UF 56. Vaccinations will continue to be
 7
     offered to newly arrived inmates and those who previously refused and wish to receive
 8
     the vaccine. UF 64-65.
 9
           When inmates at FCC Lompoc are offered the COVID-19 vaccine, they are
10
     provided a form by a medical provider in the event they refuse vaccination and have the
11
     opportunity to ask questions about the vaccine. UF 67. There is abundant signage about
12
     the vaccine throughout the institution and educational materials on the TRULINCS
13
     system in both Spanish and English to educate inmates about the vaccine. UF 68. FCC
14   Lompoc has the ability to translate vaccine information into any language that is needed.
15   UF 68. Additional staff was sent to FCC Lompoc to assist with vaccine administration
16   and vaccine education. UF 69. FCC Lompoc is continuing to engage with inmates who
17   previously refused the vaccine to provide education and information about the vaccine.
18   UF 70. To date, between 30 to 40 inmates who initially refused the vaccine changed their
19   minds when it was re-offered. UF 71. Those inmates who refused the vaccine have
20   received and will continue to receive additional opportunities to be vaccinated. UF 72.
21   The BOP is evaluating the reasons inmates are hesitant to accept the vaccine. UF 72.
22   Inmates have the ability to submit a request to medical staff for more information or to
23   ask questions about the vaccine and those in chronic care are being counseled at their

24   chronic care appointments. UF 72.
           D.     Population Reduction and Transfers to Home Confinement
25
            FCC Lompoc has conducted 2,083 home confinement reviews pursuant to the
26
     Court’s Preliminary Injunction, with more reviews being conducted regularly. UF 73. In
27
     other words, the BOP has done home confinement reviews of nearly all the inmates at
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 1   FCC Lompoc in compliance with the Court’s Preliminary Injunction. From these
 2   reviews, 141 inmates were preliminarily approved for home confinement and 215 were
 3   approved for transfer to a Residential Reentry Center. UF 74. As of May 4, 2021, 141
 4   class members had been placed in home confinement, 215 were transferred to an RRC,
 5   82 were granted compassionate release, 124 were released, and 153 were transferred. UF
 6   75.
 7         Across the United States, the BOP has increased the home confinement population
 8   by approximately 200% from March 2020 through December 2020 and has transferred
 9   approximately 25,790 inmates to home confinement. UF 76. In addition, the BOP set
10   temporary population caps for low and minimum-security institutions with open bay
11   housing. UF 77. FCC Lompoc’s current population of 1,891 is a 29% population
12   reduction from the population of 2,680 alleged in the Complaint and is below the number
13   of available beds. UF 78.
14         E.     Site Visits and Expert Testimony
15                1.    Court Ordered Inspection and Rule 706 Report by Dr. Homer Venters
16         At the Petitioners’ request, the Court appointed Dr. Homer Venters pursuant to
17   Federal Rule of Evidence 706 to conduct a site visit of FCC Lompoc and prepare a
18   report. UF 79. Dr. Venters was directly adverse to the federal government, as an
19   opposing party-retained expert, in prior COVID-19 cases, including Chunn et al. v.
20   Edge, 1:20-cv-01590 (E.D.N.Y.); Martinez-Brooks et al. v. Easter, 3:20-cv-00569 (D.
21   Conn.); and Fraihat v. ICE, 19-cv-1546-JGB (SHKx) (C.D. Cal.). In the Chunn case, the
22   District Court made strong criticisms of Dr. Venters’ opinions, while citing and relying
23   upon the opposing testimony by Dr. Beard and Asma Tekbali (who Respondents have
24   retained as experts again here, as discussed below). Dr. Venters first visited FCC
25   Lompoc on September 1-2, 2020. UF 80. Dr. Venters’ first report, filed on September
26   25, 2020, made recommendations about what else he thought should be done at FCC
27   Lompoc. UF 81-82. But, as explained below, to the extent they were not already being
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 1   done by FCC Lompoc, those recommendations were either (a) inconsistent with CDC
 2   guidance; or (b) based entirely on claims made by unidentified inmates about problems
 3   they were allegedly experiencing. UF 86.
 4         In fact, Dr. Venters had received heavy criticism because of those same
 5   methodological deficiencies in the order denying a preliminary injunction in the Chunn
 6   case. See Chunn v. Edge, 465 F. Supp. 3d 168, 181 (E.D.N.Y. 2020) (noting that Dr.
 7   Venters’ claim that MDC Brooklyn was failing to conduct COVID screening based on
 8   inmates’ out of court statements to Dr. Venters “does not appear to be supported by the
 9   evidence”). There, the district court noted that Dr. Venters made idiosyncratic
10   suggestions without a reliable scientific basis for imposing them; in some cases, his
11   unsupported suggestions were affirmatively misguided and contrary to the governing
12   scientific guidance. See id. at 186 (noting that the steps Dr. Venters recommended are
13   “not called for by the CDC’s guidance”).
14         Dr. Venters conducted a second visit of FCC Lompoc on April 20-21, 2021. UF
15   83. His second report was filed with the Court at Dkt. 239-1. UF 84. Dr. Venters second
16   report again makes recommendations that are not called for by CDC guidance and
17   glaringly omits relevant information, such as the fact that as of the time of his visit, there
18   had been zero COVID-19 inmate cases for some time.
19                2.     Site Visit and Report of Dr. Jeffrey Beard
20         Respondents’ expert Dr. Jeffrey Beard visited FCC Lompoc on September 8, 2020
21   and April 20-21, 2021. UF 87. He reviewed Plaintiff’s complaint, the actions taken by
22   the BOP and FCC Lompoc in response to COVID-19, and has reviewed Dr. Venters’
23   two reports regarding FCC Lompoc. UF 88. Dr. Beard determined and opined that:
24       • FCC Lompoc is currently managed by a knowledgeable, effective Warden and
25         management team, and the facility is clean and well maintained. UF 89.
26       • At the time of his visit, the management team was complying with both BOP
27         direction and CDC guidance relative to managing COVID-19 in a correctional
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 1         facility. UF 90.
 2       • FCC Lompoc has released/transferred 25% of its inmate population from the time
 3         of Attorney General Barr’s memo on March 26, 2020 to September 4, 2020, which
 4         is more than many other state and federal facilities around the country. UF 91.
 5       • The vaccination program at FCC Lompoc is going very well. UF 92.
 6       • Dr. Venters relies on unidentified inmates in reaching his conclusions and often
 7         makes recommendations not grounded in CDC guidance. He also does not offer
 8         scientific standards upon which the recommendations are based. UF 93.
 9       • Dr. Venters’ methodology for surveying inmates is not a credible or sound source
10         of unbiased or reliable information. A random sample of inmates would have been
11         a better source of information. UF 94.
12       • The BOP continues to update its COVID-19 policies and procedures to follow
13         CDC guidelines. UF 95.
14         Respondents incorporate by reference Dr. Beard’s rebuttal of Dr. Venters’
15   opinions as set forth in Dr. Beard’s report filed at (Dkt. No. 113 at Exhibit 1) as well as
16   Dr. Beard’s declaration filed concurrently herewith.
17                3.     Report of Asma Tekbali
18         Respondents also retained epidemiologist Asma Tekbali to opine as an expert on
19   FCC Lompoc’s infection control and testing procedures. UF 96. Ms. Tekbali bore the
20   lead responsibility as an Infection Preventionist at Lenox Hill Hospital-Northwell
21   Health. UF 97. Her hospital was at the center of dealing with New York’s COVID-19
22   crisis and is believed to have admitted and cared for the most COVID-19 patients in the
23   world. UF 98. To prepare her opinion on FCC Lompoc, Ms. Tekbali reviewed the
24   inspection reports by Dr. Venters and Dr. Beard, as well as underlying documentation.
25   She spoke with FCC Lompoc prison governance and infection control officers. UF 99.
26         Ms. Tekbali explains that the efficacy rate of the Pfizer and Moderna vaccines is
27   94-95%. UF 100. The Pfizer vaccine was also shown in clinical trials to be 100%
28
                                                  12
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 1   effective at preventing severe disease. UF 100. Data from Israel show that the Pfizer and
 2   Moderna vaccines are highly effective across all age groups at preventing symptomatic
 3   and asymptomatic COVID-19 infections, hospitalizations, severe illness and death,
 4   including the B.1.1.7 variant. UF 100.5 UF 100. Ms. Tekbali concludes that “FCC
 5   Lompoc has effectively responded to a significant COVID-19 outbreak by collaborating
 6   with local health departments, adapting to and implementing pandemic response
 7   guidance from the CDC and BOP, constructing a COVID-19 hospital unit, providing
 8   masks and materials for hand hygiene to inmates, and offering vaccination to essentially
 9   all of the inmates and staff.” UF 101. She explained that “In their complaint, petitioners
10   request adequate testing and isolation, PPE, and proper treatment and monitoring of
11   inmates ill with the virus. Based on the materials I have been provided, I have
12   determined that FCC Lompoc has met these requests …” UF 102. Ms. Tekbali observes
13   that “Another indication of the facility’s successful effort to stop transmission of the
14   virus is the fact that there are no positive inmates at FCC Lompoc, in contrast to the
15   COVID-19 rates prevailing in California. While positive tests have occurred, they have
16   not led to large new outbreaks at the facility, which provides further proof that the
17   infection control measures have been effective and proper.” UF 103.
18         Ms. Tekbali states that “The steps the BOP took to respond to and control FCC
19   Lompoc’s outbreak went beyond CDC and BOP guidance, and the effectiveness of these
20   actions are reflected today in the lack of any further major outbreaks at the facility.
21   Particularly given the recent vaccination efforts, I believe it is very unlikely the facility
22   will see a repeat of the spring 2020 outbreak.” UF 104. Ms. Tekbali notes that “The near
23   halt of COVID-19 infections within FCC Lompoc after vaccinations began is proof that
24   vaccinations are effective….” UF 105.
25
26         5
             See also https://www.latimes.com/california/story/2021-05-21/breakthrough-
27   coronavirus-infections-of-vaccinated-people-exceedingly-rare-in-l-a-county (stating that
     of the 3.3 million LA County residents fully vaccinated as of May 7, 2021, 0.03% tested
28   positive for COVID-19, 0.002% were hospitalized, and 0.00036% died).
                                                13
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 1   III.   ARGUMENT
 2          A.    Petitioners Cannot Establish and Eighth Amendment Violation.
 3          To succeed on their Eighth Amendment claim, petitioners must satisfy two
 4   requirements. First, they must show that they suffer a deprivation that is “objectively,
 5   ‘sufficiently serious,’” “result[ing] in the denial of the ‘minimal civilized measure of
 6   life’s necessities.’” Farmer v. Brennan, 511 U.S. 825, 834 (1994). That “requires more
 7   than a scientific and statistical inquiry into the seriousness of the potential harm and the
 8   likelihood that such injury to health will actually be caused”; it requires a showing that
 9   “society considers the risk that the prisoner complains of to be so grave that it violates
10   contemporary standards of decency to expose anyone unwillingly to such a risk.” Helling
11   v. McKinney, 509 U.S. 25, 36 (1993). Second, petitioners must show that BOP is acting
12   with “‘deliberate indifference’ to inmate health or safety,” “know[ing] of and
13   disregard[ing] an excessive risk to inmate health or safety.” Farmer, 511 U.S. at 834,
14   837. “[T]he Eighth Amendment prohibits mistreatment only if it is tantamount to
15   ‘punishment,’ and thus courts have imposed liability upon prison officials only where
16   they are so deliberately indifferent to the serious medical needs of prisoners as to
17   unnecessarily and wantonly inflict pain.” Perez v. Oakland County, 466 F.3d 416, 423
18   (6th Cir. 2006) (quotation marks omitted).
19          The Supreme Court has repeatedly affirmed that the Eighth Amendment does not
20   authorize courts to superintend prison officials’ decisions about how to balance
21   competing interests within the constraints of the prison setting. Prison officials act with
22   deliberate indifference in violation of the Eighth Amendment only if they “know[] of and
23   disregard[] an excessive risk to inmate health or safety,” a standard that “incorporates
24   due regard for [officials’] unenviable task of keeping dangerous men in safe custody
25   under humane conditions.” Farmer, 511 U.S. at 837, 845 (quotation marks omitted); see
26   also Battista v. Clarke, 645 F.3d 449, 453 (1st Cir. 2011) (noting that the Eighth
27   Amendment “leav[es] ample room for professional judgment, constraints presented by
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                                                  14
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 1   the institutional setting, and the need to give latitude to administrators who have to make
 2   difficult trade-offs as to risks and resources”). The Supreme Court has accordingly
 3   emphasized that courts must use “caution” in issuing injunctions in the prison context
 4   and may not “enmesh[]” themselves “in the minutiae of prison operations.” Farmer, 511
 5   U.S. at 846-47. Moreover, to obtain injunctive relief, Petitioners must demonstrate that
 6   “prison authorities’ current attitudes and conduct” meet the “high legal standard” of
 7   deliberate indifference, and will continue to do so in the future. Toguchi v. Chung, 391
 8   F.3d 1051, 1060 (9th Cir. 2004) (emphasis added); Farmer v. Brennan, 511 U.S. 825,
 9   845 (1994).
10         Nearly all federal courts have held that reasonable efforts taken by prison officials
11   to reduce COVID-19 risk cannot rise to an Eighth Amendment violation even where
12   those efforts were imperfect and the harm imposed by COVID-19 was “ultimately not
13   averted.” Wilson v. Williams, 961 F.3d 829, 840 (6th Cir. 2020) (quoting Farmer, 511
14   U.S. at 844); Valentine v. Collier, 956 F.3d 797, 801 (5th Cir. 2020); Swain v. Junior,

15   961 F.3d 1276, 1286 (11th Cir. 2020); Cameron v. Bouchard, 815 Fed. Appx. 978, 986
     (6th Cir. 2020) (rejecting plaintiffs’ attempts to distinguish Williams because their
16
     “argument at most shows that defendants’ response was imperfect”). Here, the BOP has
17
     taken, and continues to take, the necessary steps to eliminate the COVID-19 crisis at
18
     FCC Lompoc and to avert any future crisis.
19
           The Supreme Court has twice rejected calls to enjoin local officials’ measures
20
     taken to protect the health and safety of their citizens during the pandemic. See South
21
     Bay United Pentecostal Church v. Newsom, 140 S.Ct. 1613, 1613-14 (May 29, 2020)
22
     (Roberts, C.J., concurring in the denial of application for injunctive relief) (“especially
23   broad” latitude should be given to officials entrusted with protecting health and safety
24   during this pandemic whose decisions “should not be subject to second-guessing by an
25   unelected federal judiciary, which lacks the background, competence, and expertise to
26   assess public health and is not accountable to the people”); see also Calvary Chapel
27
28
                                                  15
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 1   Dayton Valley v. Sisolak, 140 S. Ct. 2603 (denying request to enjoin local COVID-19
 2   restrictions).
 3                    1.   Petitioners Cannot Satisfy the Objective Requirement of the Eighth
 4                         Amendment Standard
 5          The “objective prong” of the Eighth Amendment requires a showing that an

 6   inmate has been deprived “of the minimal civilized measure of life’s necessities.’”
     Farmer, 511 U.S. at 834. When this deprivation involves a risk of harm, this prong
 7
     requires the inmate to show that “society considers the risk that the prisoner complains
 8
     of to be so grave that it violates contemporary standards of decency to expose anyone
 9
     unwillingly to such a risk. In other words, the prisoner must show that the risk of which
10
     he complains is not one that today’s society chooses to tolerate.” Helling v. McKinney,
11
     509 U.S. 25, 36 (1993).
12
            Petitioners cannot show that the BOP is depriving them of the “minimal civilized
13
     measure of life’s necessities” or “violating contemporary standards of decency” in
14   addressing the risk of harm to inmates that COVID-19 presents. “A prison official’s duty
15   under the Eighth Amendment is to ensure reasonable safety.” Farmer, 511 U.S. at 844.
16   FCC Lompoc’s response is aligned with official guidance from leading world health
17   authorities for mitigating the risks associated with the pandemic. FCC Lompoc has
18   vastly decreased any risk of outbreak by adhering to the CDC guidelines. As explained,
19   there are currently no cases of COVID-19 at FCC Lompoc, there have been no COVID-
20   19 cases in FCC Lompoc’s general population since December, 2020, there have been no
21   hospitalizations for COVID-19 since August 2020, every inmate has been offered the
22   vaccine, and over 70% of inmates are either recovered from COVID-19, fully
23   vaccinated, or both.

24          Importantly, the BOP drafted and FCC Lompoc implemented a detailed plan that
     built on the CDC’s guidelines to address the COVID-19 pandemic on multiple fronts.
25
     UF 1-4. That plan, which continues to evolve as data and science on the pandemic
26
     advances, addresses virtually every aspect of operating these facilities in the midst of the
27
     pandemic. UF 3. Measures including staff screening, mask wearing, and testing and
28
                                                  16
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 1   quarantine procedures for newly arriving inmates have kept new COVID-19 cases at
 2   bay. UF 5-6. Over the winter, COVID-19 risk proved much more difficult to control
 3   within the homes that Petitioners have been asking to be released to. FCC Lompoc’s
 4   inmates were some of the first people in the United States to be offered the vaccine in
 5   December 2020 and FCC Lompoc has now offered the vaccine to all inmates and has

 6   infrastructure in place to offer it to new arrivals and inmates who previously refused and
     now wish to receive it. UF 47, 63-65.
 7
           The COVID-19 pandemic exposed everyone – particularly before vaccines had
 8
     been approved – to the risk of falling ill. FCC Lompoc’s response to COVID-19 is
 9
     aligned with official guidance from leading world health authorities for mitigating the
10
     risks associated with the pandemic. See Dkt. No. 25-2 ¶¶ 15-16, 23-25, 29; UF 83; Dkt.
11
     No. 113 at Exhibit 1 at 3. This Court should reject Petitioners’ position that Respondents
12
     did not take reasonable steps to protect prisoners at FCC Lompoc from the harm of
13
     COVID-19. As an initial matter, even assuming that were true year ago (and it was not),
14
     the question before the Court is whether it should enter permanent injunctive relief to
15
     address conditions as they exist now at FCC Lompoc. In any event, this argument
16
     ignores the evidence of the numerous steps the BOP has taken in response to COVID-19
17
     and ignores that FCC Lompoc has offered the vaccine to all inmates. UF 62-63. FCC
18
     Lompoc has implemented the same risk-reduction practices among the inmates and staff
19
     that are recommended for the community at-large: physical distancing, limited
20
     movement, screening mechanisms, providing soap for hand washing, frequently
21
     disinfecting high-touch areas, mask-wearing, and quarantining or isolating individuals as
22
     appropriate. See Dkt. No. 25-2 ¶¶ 54-83; UF 4-6. These practices are the same measures
23
     that society deems capable of reducing the risk of COVID-19 transmission, and thus
24
     reflect the manner in which “today’s society chooses to tolerate” that risk. Helling, 509
25
     U.S. at 36.
26
           Notably, Petitioners have not shown that FCC Lompoc’s practices raise the risk of
27
     death or hospitalization from COVID-19 at Lompoc substantially over the risk in the
28
                                              17
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 1   community at large. See Hines v. Youssef, 2015 WL 164215, at *4 (E.D. Cal. Jan. 13,
 2   2015) (“Unless there is something about a prisoner’s conditions of confinement that
 3   raises the risk of exposure substantially above the risk experienced by the surrounding
 4   communities, it cannot be reasoned that the prisoner is involuntarily exposed to a risk the
 5   society would not tolerate.”). The death rate among infected individuals at FCC Lompoc

 6   is drastically lower than the death rate with Los Angeles County, as of May 24, 2021. 6
     FCC Lompoc has had no inmate-related COVID-hospitalizations since August 2020,
 7
     compared to the 21,936 COVID-19 hospitalizations in California in January 2021. 7
 8
           Now that the BOP has offered the vaccine to all FCC Lompoc inmates, the risks
 9
     have been significantly reduced. Courts have acknowledged the scientific data showing
10
     the effectiveness of the COVID-19 vaccine. See. e.g., United States v. Miller, 2021 WL
11
     1115863 at *2 (E.D. Mich. Mar. 24, 2021) (“The court is aware of no scientifically
12
     derived evidence showing that severe complications or death from COVID-19 is likely,
13
     or even possible, after an individual has received a full vaccination regimen.”) Any
14   objective risk of serious illness from COVID-19 is now within inmates’ control.
15   Numerous courts have recognized that an inmate cannot move for compassionate release
16   based on COVID concerns but also refuse the vaccine. United States v. Jackson, 2021
17   WL 806366 at *1-2 (D. Minn. Mar. 3, 2021) (an inmate “cannot simultaneously claim
18   that he must be released because of the risk of complications while refusing a vaccine
19   that could virtually eliminate that risk.”); United States v. Austin, 2021 WL 1137897 at
20   *2 (E.D. Mich. Mar. 25, 2021) (“A prisoner cannot on the one hand point to the risk of
21   severe illness, while on the other hand refuse to participate in basic precautionary
22   measures such as vaccination.”). As one court noted in the context of an inmate’s request
23   for compassionate release from FCI Danbury:

24         6
              The death rate among inmates at FCC Lompoc was 0.41% (5 deaths for 1,210
25   cases), compared with the Los Angeles County death rate of 1.95% (24,175 deaths for
     1,238,919 cases), as of March 17, 2021. Cf. BOP website
26   (https://www.bop.gov/coronavirus/index.jsp) with L.A. County website
     (http://publichealth.lacounty.gov/media/coronavirus/data/index.htm).
27   7
      https://calmatters.org/health/coronavirus/2020/04/california-coronavirus-covid-patient-
28   hospitalization-data-icu/
                                                 18
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 1           The opportunity for individually-identifiable inmates to opt to receive the
 2           COVID-19 vaccine represents a sea change from their previous COVID-
             19 infection vulnerability and inability to protect themselves against the
 3           virus, even with comorbidities. . . . Mr. Poupart’s argument that his
 4           significant medical needs warrant his release lacks persuasive force since
             the vaccine has empowered Mr. Poupart to reduce these risks.
 5
     United States of America v. Poupart, 2021 WL 917067, at *1 (D. Conn. Mar. 10, 2021).
 6
     An inmate whom the BOP offers “the ability and opportunity to take measures to
 7
     markedly reduce [their] risk of severe illness or death from COVID-19 while
 8
     incarcerated,” but who rejects such measures, cannot reasonably continue to accuse the
 9
     BOP of inflicting cruel and unusual punishment on them by being indifferent to their
10
     COVID-19 risk.
11
           The risks currently faced by those inside FCC Lompoc are lower than the general
12
     risks faced by the public outside, due to the facility’s superior ability to control its
13
     population, its operations, and its risk factors relative to what has been done over the
14
     same period in general Californian communities. Moreover, given that FCC Lompoc has
15
     offered all inmates the ability to protect themselves from COVID-19 through vaccines,
16
     Petitioners cannot meet their burden to show that the BOP has placed them in conditions
17
     of confinement subjecting them to an objectively “unreasonable risk” of harm under the
18
     Eighth Amendment. Helling, 509 U.S. at 36. UF 55-56.
19
                  2.     There is No Dispute that Petitioners Cannot Satisfy the Subjective
20
                         Requirement of the Eighth Amendment Standard
21
           Petitioners also fail to satisfy the subjective prong of their Eighth Amendment
22
     claim, which requires them to show that Respondents “kn[ew] of and disregard[ed] an
23
     excessive risk to inmate health or safety.” Farmer, 511 U.S. at 837. This test is
24
     subjective, meaning “the official must both be aware of facts from which the inference
25
     could be drawn that a substantial risk of serious harm exists, and he must also draw the
26
     inference.” Id. The Eighth Amendment does not require perfect results. See id. at 844
27   (“prison officials who actually knew of a substantial risk to inmate health or safety may
28
                                                   19
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 1   be found free from liability if they responded reasonably to the risk, even if the harm
 2   ultimately was not averted”).
 3         To establish an entitlement to injunctive relief, Petitioners must show that BOP
 4   officials currently are acting with deliberate indifference. Where a prisoner “seeks
 5   injunctive relief to prevent a substantial risk of serious injury from ripening into actual

 6   harm, the subjective factor . . . should be determined in light of the prison authorities’
     current attitudes and conduct[.]” Id. at 845 (internal quotation marks omitted). Thus,
 7
     Petitioners must show that today, Respondents are recklessly disregarding an excessive
 8
     risk to Petitioners’ safety, and that they will continue to do so “into the future.” Id.
 9
           The Fifth, Sixth and Eleventh Circuits found no Eighth Amendment violations
10
     even in facilities with significant active COVID-19 outbreaks (which is not the case
11
     here) and reversed district court decisions granting injunctive relief. In Valentine v.
12
     Collier, 993 F.3d 270, 277 (5th Cir. 2021), the Fifth Circuit reversed the district court’s
13
     entry of a permanent injunction over a geriatric state prison. The Fifth Circuit found that
14   the prison’s response to COVID-19 and its implementation of public health guidance
15   regarding testing, social distancing, mask use, handwashing, and sanitation and cleaning
16   did not meet the subjective test of deliberate indifference and concluded that permanent
17   injunctive relief was not warranted. Id. at 289.
18         In Swain v. Junior, 961 F.3d 1276, 1287 (11th Cir. 2020), the district court issued
19   an injunction finding that prison officials were deliberately indifferent because it was not
20   possible for inmates to be at least six feet apart at all times and because the rate of
21   COVID-19 infections had increased. The Eleventh Circuit reversed, concluding that
22   where prison officials “took numerous other measures – besides social distancing – to
23   mitigate the spread of the virus,” including requiring the use of face masks, screening of

24   staff into the facility, daily temperature screening, suspending outside visitation, and
     providing disinfecting and hygiene supplies to all inmates, prison officials could not be
25
     found liable because they could not meet the subjective component under the Eighth
26
     Amendment. Id. at 1289 (emphasis in original). The Eleventh Circuit noted that,
27
     although inmates at the facility had contracted COVID-19, resulting harm alone cannot
28
                                                   20
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 1   establish a culpable state of mind. Id. It found no Eighth Amendment liability if prison
 2   officials respond reasonable to a risk to inmate health, “even if the harm ultimately was
 3   not averted.” (quoting Farmer, 511 U.S. at 844) (emphasis in original).
 4         In Williams, the Sixth Circuit also vacated the district court’s injunction and held
 5   that petitioners could not satisfy the subjective prong of an Eighth Amendment violation
 6   where the BOP had responded reasonably to the risk of COVID-19 at FCI Elkton by
 7   implementing screening, testing, isolation, and hygiene measures, limiting inmate
 8   movement, and providing inmates and staff with masks and PPE. 961 F.3d at 841.
 9   Williams noted that the Fifth and Eleventh Circuits had already found similar measures
10   to constitute a reasonable response to COVID-19 such that there was no tenable Eighth
11   Amendment claim. Id. at 841-42 (citing Swain (per curiam); Valentine (per curiam);
12   Marlowe v. LeBlanc, 2020 WL 2043425 (5th Cir. Apr. 27, 2020) (per curiam)). See also
13   Grinis, 2020 WL 2300313, at *3 (“These affirmative steps may or may not be the best
14   possible response to the threat of COVID-19 within the institution, but they undermine
15   an argument that the respondents have been actionably deliberately indifferent to the
16   health risks of inmates.”); Nellson, 2020 WL 3000961, at *8 (finding no likelihood of
17   success on merits of Eighth Amendment conditions-of-confinement claim due to
18   COVID-19 and noting that “[c]ompliance with CDC protocols does not demonstrate that
19   defendants are disregarding a substantial risk to inmate health or failing to respond
20   reasonably to the risks of COVID-19”). Moreover, as Judge Fitzgerald noted in Wilson
21   v. Ponce, CV 20-4451-MWF, a COVID-19 conditions of confinement case at FCI
22   Terminal Island, “a mere difference of medical opinion is insufficient, as a matter of law,
23   to establish deliberate indifference.” Wilson v. Ponce, 2021 WL 880397, at *4 (C.D. Cal.
24   Feb. 25, 2021) (citing Toguchi, 391 F.3d at 1058 (internal quotations marks and citation
25   omitted)).
26         To the extent that Petitioners’ deliberate indifference argument is premised on the
27   assumption that the inability to remain six feet apart at all times is per se deliberate

28   indifference, that argument has been squarely rejected by other courts. See Wragg, 2020
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 1   WL 2745247, at *21 (no Eighth Amendment violation because there is “no evidence of
 2   Respondents’ liable state of mind” and noting “physical distancing is not possible in a
 3   prison setting, as Petitioners urge, does not an Eighth Amendment claim make and, as
 4   such, Petitioners are not likely to succeed on the merits”).
 5         Similarly, Petitioners here cannot satisfy the subjective requirement of an Eighth

 6   Amendment conditions-of-confinement claim. BOP officials have not acted with
     deliberate indifference to the risk that COVID-19 poses to inmate populations; rather,
 7
     they have taken aggressive, appropriate, and successful measures to abate that risk at
 8
     FCC Lompoc. Although Petitioners and Respondents have minor disputes over the
 9
     implementation about these measures, even if Petitioners’ allegations are true, it does not
10
     rise to the level of deliberate indifference. See Wragg, 2020 WL 2745247, at *21 (no
11
     Eighth Amendment violation because there is “no evidence of Respondents’ liable state
12
     of mind”); Money v. Pritzker, 453 F.Supp.3d at 1131 (prisoner petitioners have “no
13
     chance of success” as to deliberate indifference because of the measures taken by the
14   Illinois Department of Corrections). Petitioners cannot succeed on their Eighth
15   Amendment claim given the actions taken by the BOP at FCC Lompoc. See Farmer, 511
16   U.S. at 845. Respondents acted with a high degree of care, and certainly were not acting
17   with deliberate indifference that would transform conditions at FCC Lompoc into an
18   Eighth Amendment “punishment.” Indeed, starting in December 2020, inmates at FCC
19   Lompoc were some of the first people in this country to be offered these COVID-19
20   vaccines. UF 47. All Lompoc inmates have now been offered the vaccine. UF 63.
21   Furthermore, the BOP created and implemented its Pandemic Response Plan, which is
22   continually revised to reflect new scientific developments. UF 1-3. The Pandemic
23   Response plan addresses nearly every aspect of operating the BOP’s institutions and

24   reflects that the BOP has used every tool in its arsenal (such as masking, testing of
     inmates and staff, cohorting, quarantine protocol, and vaccination). UF 1-3.
25
           In fact, Petitioners’ own pleadings recount the numerous steps FCC Lompoc has
26
     taken to combat COVID-19: conducted testing of hundreds of inmates (see ECF No. 16
27
     at ¶¶ 2-3,); issued masks (ECF No. 16 at ¶ 54, ECF No. 18 at 29:8-12, 49:2-4); locked
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 1   down the facility (ECF No. 16 at ¶¶ 47, 49, ); and isolated individuals with positive test
 2   results for COVID-19 (ECF No. 16 at ¶¶ 47, 51). The existence of these facts, which
 3   Petitioners acknowledge were taken, undercuts their bald assertions that FCC Lompoc
 4   showed deliberate indifference to the threat to inmate health posed by COVID-19.
 5         As the pandemic has progressed, FCC Lompoc adhered to the BOP’s Pandemic
 6   Response Plan and has conducted over 5,479 COVID-19 tests, continues to provide
 7   masks and soap to inmates, and has offered the vaccine to all inmates. UF 29, 63, 101.
 8   These steps in the face of this global pandemic, demonstrate an extremely high degree of
 9   care. Petitioners thus cannot show that BOP officials are acting with deliberate
10   indifference, and cannot succeed on their Eighth Amendment claim. See Farmer, 511
11   U.S. at 845 (“[P]rison officials who act reasonably cannot be found liable under the
12   Cruel and Unusual Punishments Clause.”); Lucero-Gonzalez v. Kline, 464 F. Supp. 3d
13   1078, 1090 (D. Ariz. 2020) (“The very fact that Defendants have enacted [] policies [in
14   response to the risks posed by COVID-19] supports that they have not been subjectively
15   indifferent to the risks posed by COVID-19.”), order clarified on reconsideration, 2020
16   WL 8258212 (D. Ariz. July 17, 2020). In total, the evidence demonstrates that
17   Respondents acted with an extremely high degree of care, and certainly were not acting
18   with deliberate indifference that would transform conditions at FCC Lompoc into an
19   Eighth Amendment “punishment.” See Wilson v. Seiter, 501 U.S. 294, 298, 300 (1991).
20         B.     Petitioners Have Failed To Timely Move For And Obtain Class
21                Certification Prior To The Motion Cutoff
22         Petitioners have not moved for class certification. They only filed an ex parte
23   application for provisional class certification. Dkt. No. 22. Following the Court’s initial
24   issuance of the preliminary injunction and grant of such provisional certification (Dkt.

25   No. 45), Petitioners have treated this case as if it were essentially over, with the pressing
     COVID-19 risk having been resolved, and no urgent risk to the inmates remaining
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     beyond what the preliminary injunction had already addressed. Petitioners thus do not
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     have a class action to proceed with. Because “actual, not presumed,” compliance with
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                                                23
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 1   Rule 23 remains the touchstone for class certification, a class may be certified only after
 2   the court has conducted a “rigorous analysis” to determine if class certification is
 3   appropriate in light of the particular facts underlying the plaintiff’s claim. Gen. Tel. Co.
 4   of the Southwest v. Falcon, 457 U.S. 160-61 (1982). Here, Petitioners never moved for
 5   such a determination. While the Court certified a provisional class in connection with

 6   issuing the preliminary injunction, the scope of such provisional certification is limited
     to facilitating such preliminary relief. It is not a substitute for an actual Rule 23 class
 7
     certification.
 8
            C.        Petitioners Have Failed to Exhaust Administrative Remedies
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            The PLRA mandates that “[n]o action shall be brought with respect to prison
10
     conditions under . . . any . . . Federal law, by a prisoner confined in any jail, prison, or
11
     other correctional facility until such administrative remedies as are available are
12
     exhausted.” 42 U.S.C. § 1997e(a); Maronyan v. Toyota Motor Sales, USA, Inc., 658 F.3d
13
     1038, 1041-42 (9th Cir. 2011) (PLRA exhaustion “requirement”). To the extent that
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     Petitioners seek further relief concerning FCC Lompoc’s response to COVID-19, they
15
     may not raise those claims in this lawsuit until they have fulfilled the PLRA’s
16
     administrative exhaustion requirements. Respondents incorporate by reference their
17
     administrative exhaustion argument at Dkt. No. 25 at 55:4-59:3.
18
     IV.    CONCLUSION
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            For the foregoing reasons, Respondents respectfully request that this Court grant
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     summary judgment in favor of Respondents and against Petitioners as a matter of law.
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 1    Dated: May 25, 2021                 Respectfully submitted,
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